                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: Gregory Joseph Johnson                :              CHAPTER 13
                                             :
                    Debtor.                  :              5:22-bk-01087-MJC
Gregory Joseph Johnson                       :
                                             :
       Movant,                               :
                                             :
       v.                                    :
                                             :
Irina Mayman,                                :              Motion for Contempt
       Respondent                            :

                               ORDER ADOPTING STIPULATION

       Upon consideration of the parties’ Stipulation resolving Movant’s Motion for Contempt, the
terms of the Stipulation are hereby adopted as an Order of Court.




                                                           By the Court,



                                                           _____________________________
                                                           Mark J. Conway, Bankruptcy Judge
                                                           Dated: December 5, 2023




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